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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   TOTAL RECALL TECHNOLOGIES,                                  No. C 15-02281 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.
                                                                         13   PALMER LUCKEY and OCULUS VR,                                ORDER DENYING
                                                                         14   LLC, as successor-in-interest to Oculus                     MOTION FOR RELIEF
                                                                              VR, Inc.,                                                   FROM PRIOR ORDER
                                                                         15                                                               AND CLOSING FILE
                                                                                             Defendants.
                                                                         16                                                /

                                                                         17                                           INTRODUCTION
                                                                         18          A prior order held this action should be dismissed as unauthorized under the governance
                                                                         19   rules of the partnership purporting to sue. That order stayed its effect, giving plaintiff a long
                                                                         20   opportunity to cure the authorization problem and identified two alternative avenues under
                                                                         21   which the authorization problem could be cured. Time has passed. Neither condition has been
                                                                         22   met. Plaintiff now moves for relief from the prior order on the theory that the authorization
                                                                         23   problem has been cured by alternative means. For the reasons stated below, plaintiff’s motion
                                                                         24   is DENIED, the stay is LIFTED, and the action is DISMISSED.
                                                                         25                                             STATEMENT
                                                                         26          A prior order set forth the facts of this case (Dkt. No. 179). Briefly, in 2010, Ron Igra
                                                                         27   and Thomas Seidl formed a two-person partnership, Total Recall Technologies (“TRT”), with
                                                                         28   the goal of developing consumer virtual-reality technology. They formed TRT in Hawaii.
                                                                              Seidl supplied the know-how, and Igra supplied the finances. Significantly, the partnership
                                                                                 Case 3:15-cv-02281-WHA Document 213 Filed 03/09/17 Page 2 of 9



                                                                          1    agreement gave each of the two partners veto power over any decision regarding TRT, as
                                                                          2    follows (Dkt. No. 133-2 ¶ 19):
                                                                          3                       Thomas Seidl or Ron Igra has the right to Vito [sic]. This means
                                                                                                  that for any decision regarding the company Ron Igra and Thomas
                                                                          4                       Seidl have to agree on any action [except for certain sales of a
                                                                                                  controlling interest in the partnership].
                                                                          5
                                                                                           In August 2011, Seidl entered into a written agreement with defendant Palmer Luckey to
                                                                          6
                                                                               develop a prototype for a head-mounted virtual-reality display according to certain
                                                                          7
                                                                               specifications supplied by Seidl. That written agreement made no reference to TRT.
                                                                          8
                                                                               Nevertheless, as in prior orders, this order presumes for the sake of argument that Seidl made
                                                                          9
                                                                               the agreement on behalf of TRT. Luckey made a prototype for Seidl.
                                                                         10
                                                                                           Luckey eventually formed Oculus LLC, which later re-registered as defendant Oculus
                                                                         11
United States District Court




                                                                               VR, LLC, and sold it to Facebook, Inc. Oculus is now a prominent player in virtual-reality
                               For the Northern District of California




                                                                         12
                                                                               technology.
                                                                         13
                                                                                           Once Luckey sold Oculus to Facebook in 2014, Igra wanted to sue Luckey on the theory
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                                                                               that Luckey had misappropriated Seidl’s ideas. Seidl, however, did not want to sue. In 2014,
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                                                                               Igra commenced an action in Hawaii state court against Seidl, seeking to compel Seidl to
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                                                                               authorize an action against Luckey in TRT’s name. Igra and Seidl continued to correspond, but
                                                                         17
                                                                               Seidl maintained his objection to suing Luckey and Oculus.1
                                                                         18
                                                                                           In May 2015, with the Hawaii action still unresolved, Igra, using TRT’s name,
                                                                         19
                                                                               commenced this action over Seidl’s objection here in federal court in San Francisco. After
                                                                         20
                                                                               substantial motion practice, it became clear that Igra brought this action in TRT’s name without
                                                                         21
                                                                               Seidl’s authorization.2
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                                                                                         The Hawaii action at issue was actually Igra’s second lawsuit against Seidl in Hawaii state court
                                                                         25   relating to this internal dispute. The first had been to compel Seidl to produce documents relating to Seidl's
                                                                              agreement with Luckey. The first action is immaterial to the instant motion. All references to the “Hawaii
                                                                         26   action” herein refer to the second action, the one seeking to compel Seidl to agree to commence the instant
                                                                              action against Luckey and Oculus.
                                                                         27
                                                                                       2
                                                                                         Although the caption in this action identifies Total Recall Technologies as the plaintiff, this order
                                                                         28   addresses the plaintiff as Ron Igra inasmuch as the issue herein is Igra’s unauthorized pursuit of this action in
                                                                              TRT’s name.

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                                                                                 Case 3:15-cv-02281-WHA Document 213 Filed 03/09/17 Page 3 of 9



                                                                          1                After discovery closed, which included discovery into the authorization issue, an order
                                                                          2    stayed the action pending resolution of the Hawaii action but invited defendants to bring an
                                                                          3    early motion for summary judgment on the authorization issue. In their motion, defendants
                                                                          4    contended that Igra lacked authority to pursue this action due to Seidl’s refusal to agree to sue.
                                                                          5    Igra responded that there remained a dispute of fact as to whether Seidl in fact had exercised his
                                                                          6    veto pursuant to the partnership agreement, but there was no dispute about the facts of the
                                                                          7    communication between Igra and Seidl. Igra merely disputed the legal effect of Seidl’s
                                                                          8    objections.
                                                                          9                On June 16, 2016, an order held Seidl had never authorized the lawsuit, so Igra could
                                                                         10    not maintain this action in TRT’s name as a matter of law (Dkt. No. 179) (“the June 16 Order”).
                                                                         11    The June 16 Order, however, postponed its effect, as follows (id. at 14–15):
United States District Court
                               For the Northern District of California




                                                                         12                       Rather than dismissing the action immediately, however, this order
                                                                                                  will, for the time being, merely maintain the stay and give counsel
                                                                         13                       an opportunity to cure the authorization problem. To that end, the
                                                                                                  stay previously entered will remain in effect (i) until such time as
                                                                         14                       Ron Igra and Thomas Seidl, the partners of Total Recall
                                                                                                  Technologies, file [] sworn declarations herein affirmatively and
                                                                         15                       without qualification stating that both authorize and agree to the
                                                                                                  maintenance of this civil action in the name of Total Recall
                                                                         16                       Technologies against Palmer Luckey and Oculus VR, LLC, that
                                                                                                  both ratify all actions taken herein so far on behalf of Total Recall
                                                                         17                       Technologies, and that both consent to continued prosecution of
                                                                                                  the case by the law firm of Quinn Emanuel Urquhart & Sullivan,
                                                                         18                       LLP, or (ii) until such time as a final order arrives from the Hawaii
                                                                                                  courts to the same legal effect. The stay will not last indefinitely
                                                                         19                       but will last at least until the end of December to allow the trial in
                                                                                                  Hawaii to conclude.
                                                                         20
                                                                                           A status conference was scheduled for January 12, 2017. A few weeks beforehand, the
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                                                                               undersigned judge observed that Igra and Seidl had stipulated to dismissal of the Hawaii action.
                                                                         22
                                                                               In advance of the status conference, the parties herein were requested to show cause in writing,
                                                                         23
                                                                               supported by sworn declarations, why our case should not be dismissed for the reasons stated in
                                                                         24
                                                                               the order on defendants’ motion to dismiss. The written responses addressed the details of a
                                                                         25
                                                                               new “Confidential Settlement and Release Agreement” between Igra and Seidl.3
                                                                         26
                                                                         27
                                                                                       3
                                                                                        Both sides sought leave to file the settlement documents under seal, pursuant to Seidl’s confidentiality
                                                                         28   designation. Seidl failed to submit a declaration supporting the sealability of those documents, although he was
                                                                              served with the sealing motions. Accordingly, an order denied the sealing motions (Dkt. No. 201).

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                                                                          1           Pursuant to the settlement agreement, Seidl withdrew from the TRT partnership, as
                                                                          2   follows (Igra Supp. Decl., Exh. A ¶ II.A) (Dkt. No. 204-2):
                                                                          3                   Seidl agrees to withdraw from the TRT partnership effective
                                                                                              October 14, 2016, by executing a Withdrawal from Partnership
                                                                          4                   . . . . Following Seidl’s withdrawal from TRT, Seidl shall have no
                                                                                              control over TRT or any decision-making rights with respect to
                                                                          5                   TRT.
                                                                          6           The settlement agreement defined the term “California Lawsuit” to mean our instant
                                                                          7   action, and assigned rights to it, as follows (id. ¶ II.B.1):
                                                                          8                   California Lawsuit Shall Remain TRT Property. Following the
                                                                                              Withdrawal by Seidl as a partner of TRT, any and all rights or
                                                                          9                   other interests that relate to the California Lawsuit shall remain the
                                                                                              property of TRT, and Seidl shall have no right to control any
                                                                         10                   aspect of the California Lawsuit, and Seidl shall have no right to
                                                                                              veto the California Lawsuit. Seidl understands that Igra intends to
                                                                         11                   continue to pursue the California Lawsuit through TRT, and Seidl
United States District Court




                                                                                              agrees that, with the exception of the rights set forth in Paragraph
                               For the Northern District of California




                                                                         12                   II.B.3. of this Agreement, he has no individual claims related to the
                                                                                              California Lawsuit and shall have no right to seek judicial
                                                                         13                   supervision or control over the California Lawsuit.
                                                                         14           The settlement agreement required Seidl to “reasonably cooperate with counsel for TRT
                                                                         15   with respect to the California Lawsuit” and prohibited him from “communicat[ing] with or
                                                                         16   otherwise cooperat[ing] with counsel for” defendants with respect to this action (id. ¶ II.B.2). It
                                                                         17   also provided that Seidl would receive thirty percent of any monetary award, settlement, or
                                                                         18   other recovery herein after payment of fees and costs (id. ¶ II.B.3). On the other hand, Igra
                                                                         19   agreed to “defend and indemnify Seidl for any fees, costs, monetary penalty or other liability
                                                                         20   arising out of the California Lawsuit” (id. ¶ II.H).
                                                                         21           In exchange, Seidl received all of TRT’s intellectual property rights, with the exception
                                                                         22   of any rights in the names “Total Recall Technologies” and “TRT.” Seidl agreed to pay Igra a
                                                                         23   portion of revenues generated from those intellectual property assets (id. ¶ II.C). Sieidl also
                                                                         24   received “all other tangible and intangible assets of TRT,” that is, he received all assets
                                                                         25   “[e]xcept for the rights in the California Lawsuit . . . and the names ‘Total Recall Technologies’
                                                                         26   and ‘TRT’” (id. ¶ II.E).
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                                                                                Case 3:15-cv-02281-WHA Document 213 Filed 03/09/17 Page 5 of 9



                                                                          1          Igra and Seidl released all claims against each other (id. ¶ II.F). They executed the
                                                                          2   settlement agreement on November 28, 2016. They entered a stipulation of dismissal of the
                                                                          3   Hawaii action on December 6 (Lambert Decl., Exh. B) (Dkt. No. 207-1).
                                                                          4          In support of his response to the request to show cause herein, Igra also submitted
                                                                          5   declarations from himself and from Seidl.
                                                                          6          In Seidl’s declaration, he noted his withdrawal from TRT and stated that he understood
                                                                          7   that he had “no right to control any aspect of the California Lawsuit and no right to veto the
                                                                          8   California Lawsuit.” Moreover, he understood that he had “no individual claims related to the
                                                                          9   California Lawsuit and no right to seek judicial supervision or control over the California
                                                                         10   Lawsuit” (Seidl Decl. ¶ 1) (Dkt. No. 189-1). Significantly, Seidl gave no authorization or
                                                                         11   ratification of this action and never has.
United States District Court
                               For the Northern District of California




                                                                         12          For his part, Igra stated that he “as the sole remaining partner of Total Recall,
                                                                         13   authorize[d] and consent[ed] to the maintenance of” this action and the prosecution of the action
                                                                         14   by his counsel herein (Igra Decl. ¶ 7) (Dkt. No. 189-2).
                                                                         15          At the hearing on January 12, following the briefs on the request to show cause, the
                                                                         16   undersigned judge asked Igra to move on the question of whether the foregoing satisfied the
                                                                         17   June 16 Order. This order now follows full briefing and oral argument.
                                                                         18                                                ANALYSIS
                                                                         19          The June 16 Order held that Igra had commenced this action in TRT’s name without
                                                                         20   authorization inasmuch as Seidl had never approved this action. As stated, the partnership
                                                                         21   agreement provided, “Thomas Seidl or Ron Igra has the right to Vito [sic]. This means that for
                                                                         22   any decision regarding the company Ron Igra and Thomas Seidl have to agree on any action,”
                                                                         23   subject to an exception not relevant here. Rather than immediately dismiss the action, the order
                                                                         24   allowed time for Seidl to withdraw his veto (either voluntarily or by order of the Hawaii court)
                                                                         25   and to ratify all conduct on behalf of TRT in the case so as to cure the problem. Specifically,
                                                                         26   this action could proceed if Igra and Seidl both filed “sworn declarations herein affirmatively
                                                                         27   and without qualification stating that both authorize and agree to the maintenance of this civil
                                                                         28   action in the name of Total Recall Technologies against Palmer Luckey and Oculus VR, LLC,


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                                                                                 Case 3:15-cv-02281-WHA Document 213 Filed 03/09/17 Page 6 of 9



                                                                          1    that both ratify all actions taken herein so far on behalf of Total Recall Technologies, and that
                                                                          2    both consent to continued prosecution of the case by the law firm of Quinn Emanuel Urquhart
                                                                          3    & Sullivan, LLP” (Dkt. No. 179 at 15) (emphasis added).4
                                                                          4                Seidl has not supplied such a declaration. Nor has he come close.
                                                                          5                Rather than acknowledge the failure to comply with the terms of the June 16 Order, Igra
                                                                          6    now contends “Total Recall has exceeded the requirements of the June 16 Order insofar as Total
                                                                          7    Recall can now and forever more only speak with ‘one authoritative voice’” (Pl.’s Mtn. at 10
                                                                          8    (quoting June 16 Order, Dkt. No. 179 at 14)). Igra’s contention is unpersuasive. Neither
                                                                          9    condition was met. That alone is fatal.
                                                                         10                To be clear, this action was found unauthorized by the June 16 Order because the
                                                                         11    undisputed facts demonstrated that Igra had pursued it without Seidl’s authorization from the
United States District Court
                               For the Northern District of California




                                                                         12    start. The June 16 Order allowed two specific ways to retroactively obtain Seidl’s authorization
                                                                         13    and ratification so as to breathe life into a complaint that had been dead on arrival. Igra has
                                                                         14    now presented a third, different approach, but that approach falls short, for Seidl has refused to
                                                                         15    authorize and ratify anything.
                                                                         16                Absent Seidl’s unequivocal authorization and ratification, this lawsuit remained
                                                                         17    improper from the outset. The June 16 Order gave plenty of time for Seidl to come forward to
                                                                         18    authorize and to ratify this lawsuit and thereby vivify it.
                                                                         19                Seidl has studiously refused to do so.
                                                                         20                The new Igra plan does nothing by way of providing ratification by Seidl, which was a
                                                                         21    key concern in the June 16 Order. Any lawsuit in the name of TRT would have exposed Seidl,
                                                                         22    as a partner, to the risk of liability for costs and possible sanctions. This was especially true
                                                                         23    given Seidl’s many concessions that this case lacks merit.5
                                                                         24
                                                                         25            4
                                                                                          As a threshold matter, Hawaii law, which applies to TRT’s internal governance, expressly provides
                                                                              that a “partnership continues after dissolution only for the purpose of winding up its business,” which includes
                                                                         26   “prosecut[ing] and defending actions and proceedings” and “settl[ing] disputes by mediation or arbitration . . . .”
                                                                              Haw. Rev. Stat. §§ 435-139(a); 425-140(c). Accordingly, Hawaii law permits Igra to litigate actions properly
                                                                         27   brought by the partnership notwithstanding the fact that he is the sole remaining partner.

                                                                         28            5
                                                                                        In an April 2014 email responding to Igra’s pressure about bringing this action, Seidl wrote, as
                                                                              follows (Dkt. No. 136-9 at 8655):

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                                                                          1             Notably, just days after the action began, Seidl sent Luckey a text message via Skype
                                                                          2    alerting Luckey to the authorization problem (Dkt. No. 136-13 at 3302) (errors in original):
                                                                          3                      I just seen what Igra filed. WAs without my knowledge or
                                                                                                 permission. Meeting with my lawyer early next week. What he
                                                                          4                      has done seems to be illegal to me. I have not signed anything or
                                                                                                 let him take action against you.
                                                                          5
                                                                                        The June 16 Order required Seidl, as a condition of cure, to approve the lawsuit and to
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                                                                               ratify all prior conduct herein by plaintiff’s counsel and thus put himself and the partnership in
                                                                          7
                                                                               the same position and responsibility as if it had been done right from the start. The retroactive
                                                                          8
                                                                               nature of the conditions for cure set forth in the June 16 Order mattered. The statute of
                                                                          9
                                                                               limitations had already run by the time of that order, so any follow-on suit would likely have
                                                                         10
                                                                               been time-barred. The June 16 Order allowed a cure opportunity to mitigate a potentially harsh
                                                                         11
United States District Court




                                                                               result, that is, to allow, nunc pro tunc, TRT to vivify the original complaint.
                               For the Northern District of California




                                                                         12
                                                                                        Significantly, to repeat, the new Igra plan studiously avoids any authorization or
                                                                         13
                                                                               ratification by Seidl. This is fatal — and all the more aggravating, since Seidl retains a thirty
                                                                         14
                                                                               percent stake in any recovery herein. The truth is that the new plan is a clever smoke-and-
                                                                         15
                                                                               mirrors work-around to protect Seidl from ratifying anything while creating an appearance that
                                                                         16
                                                                               Igra now controls the partnership. But it does nothing to carry us back to the moment in time of
                                                                         17
                                                                               the filing of the original complaint to fix the defect that plagued this action from the start. Only
                                                                         18
                                                                               Seidl’s ratification could have done that.
                                                                         19
                                                                                                                               *        *        *
                                                                         20
                                                                         21
                                                                                               My thoughts on the vito [sic] have not changed. . . . . You said Palmer breached
                                                                         22                    the contract, where was that? You said Palmer stole our ideas, which ideas were
                                                                                               those?
                                                                         23
                                                                              In a subsequent exchange soon after, Seidl further admonished Igra (Dkt. No. 136-10 at 8561):
                                                                         24
                                                                                               You carry on the way with threatening Palmer you will burn the one advantage
                                                                         25                    we have from dealing with Palmer, that he feels he owes us on a moral level.
                                                                                               Because he does not owe us on a legal level. Don’t go messing things up.
                                                                         26
                                                                              In his penultimate statement about this lawsuit to Igra before Igra commenced the action, Seidl again expressed
                                                                         27   skepticism (Dkt. No. 159-5 at 3737):

                                                                         28                    We don’t need legal action against [P]almer for a deal. We would always bluff
                                                                                               that the case is strong. Stop wasting my time.

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                                                                          1          Perhaps acknowledging his failure to secure Seidl’s affirmative and unequivocal
                                                                          2   authorization, Igra contends we should infer Seidl’s ratification from his failure to intervene
                                                                          3   herein or to countersue in Hawaii, relying on principles of agency law.
                                                                          4          Specifically, he cites Hager v. Gibson, 108 F.3d 35, 40 (4th Cir. 1997). There, one of
                                                                          5   two shareholders in a corporation filed a bankruptcy petition. The bankruptcy trustee demanded
                                                                          6   that the other shareholder turn over certain funds that belonged to the corporation. The
                                                                          7   shareholder received the demand but took no action. The trustee then brought an adversary
                                                                          8   proceeding against the second shareholder, who moved to dismiss, claiming the first
                                                                          9   shareholder lacked authority to petition for bankruptcy on his own. Hager held that because the
                                                                         10   second shareholder knew of the bankruptcy, took no action to object, received the benefits of a
                                                                         11   bankruptcy stay, and failed to avail himself of “available corporate governance procedures to
United States District Court
                               For the Northern District of California




                                                                         12   attempt withdrawal of the corporation from the voluntary proceeding” it was not clearly
                                                                         13   erroneous to find ratification.
                                                                         14          Here, by contrast, Seidl has followed one fixed star — give no blessings whatsoever to
                                                                         15   this lawsuit. Accordingly, Hager is inapposite.
                                                                         16          Igra’s position that our defendants must face an unauthorized lawsuit because Seidl
                                                                         17   failed to affirmatively seek legal remedies by countersuing in Hawaii or intervening here due to
                                                                         18   Igra’s conduct is entirely without support.
                                                                         19          Igra also makes much of the fact that in Seidl’s answer in the Hawaii action, Seidl
                                                                         20   denied the allegation that he asserted his right to veto the action (Dkt. No. 175-15 ¶ 20). That
                                                                         21   assertion in Seidl’s unsworn answer to a group of allegations was inadmissible hearsay, and, in
                                                                         22   any case, its effect was repudiated by Seidl’s subsequent unambiguous statement (his last to
                                                                         23   Igra about the action before Igra filed it), “Do not take any legal action against [P]almer” (Dkt.
                                                                         24   No. 159-5 at 7970).
                                                                         25                                            CONCLUSION
                                                                         26          Accordingly, the stay of the June 16 Order is LIFTED, and Igra’s motion for relief from
                                                                         27   that order is DENIED. For the reasons stated in the June 16 Order, this action is DISMISSED.
                                                                         28   Judgment will follow.


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                                                                          1          Both sides request that the court take judicial notice of certain filings from the Hawaii
                                                                          2   action (Dkt. Nos. 199, 208). The requests for judicial notice are GRANTED.
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                                                                                     IT IS SO ORDERED.
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                                                                          5   Dated: March 9, 2017.
                                                                                                                                       WILLIAM ALSUP
                                                                          6                                                            UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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